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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Peakspeed, Inc.,                                    Civil File No. 0:20-cv-01630-JRT-BRT

                      Plaintiff,                 DECLARATION OF MATTHEW
                                                   BALDIN IN SUPPORT OF
v.                                               PLAINTIFF’S OPPOSITION TO
                                               DEFENDANT’S MOTION TO DISMISS
Timothy Emerson,

                      Defendant.



I, Matthew Baldin, state as follows:

       1.       I am employed by Plaintiff Peakspeed, Inc. (“Peakspeed”) as a core

developer. I submit this Declaration in support of Peakspeed’s Opposition to

Defendant’s Motion to Dismiss. I have personal knowledge of the matters set forth in

this Declaration, and if called to testify in this case I would and could competently testify

as to such matters.

       2.       I started working for EmersonAI as an independent contractor in May 2019.

I signed a Service Agreement that terminated on August 31, 2019. I do not have any

other agreements with EmersonAI that may be made public.

       3.       I have worked remotely and exclusively for Peakspeed since January 2020.

       4.       I understood that Dave Eaton was the Chief Executive Officer of Peakspeed

and that Tim Emerson was the Chief Technical Officer. Dave was in charge and

everyone worked for Dave.
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       5.       My salary is direct deposited to me. I know that Dave Eaton pays my

salary; he finances all of Peakspeed’s expenses.



       I declare under penalty of perjury under the laws of the United States of America

and the State of Colorado that the foregoing is true and correct.




Dated: October 1, 2020                        By: /s/ Matthew Baldin
                                                  Matthew Baldin




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